      8:16-cv-00144-LSC-MDN Doc # 32 Filed: 01/17/17 Page 1 of 2 - Page ID # 76



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA
                                   OMAHA DIVISION


UNITED FIRE & CASUALTY COMPANY,
A/S/O TONY'S STEAKHOUSE, INC.,
                                                            Case No.: 8-16-CV-00144
         Plaintiff,

vs.                                                DEFENDANT VENTURA FOODS, LLC’S
                                                   NOTICE OF SERVICE OF DISCOVERY
VENTURA FOODS, LLC AND SYSCO                          RESPONSES UPON PLAINTIFFS
CORPORATION,

         Defendant.


         COME NOW the Defendants, Ventura Foods, LLC and Sysco Corporation, pursuant to

Rule 16.401(2) of the Rules pertaining to the use of the Electronic Data Management System,

and hereby give notice of serving the following written discovery responses upon Plaintiff, on

the date shown in the Certificate of Service:

         1. Defendant Ventura Foods, LLC’s Response to Plaintiff’s Request for Production of
            Documents.
         2. Defendant Ventura Foods, LLC’s Answers to Plaintiff’s Interrogatories.
         3. Defendant Sysco Corporation’s Response to Plaintiff’s Request for Production of
            Documents.
         4. Defendant Sysco Corporation’s Answers to Plaintiff’s First Set of Interrogatories.


                                                  Respectfully submitted,

                                                  HOPKINS & HUEBNER, P.C.

                                                  By___/s/ Jeffrey D. Ewoldt____________
                                                    Jeffrey D. Ewoldt , AT0002384
                                                    2700 Grand Avenue, Suite 111
                                                    Des Moines, IA 50312
                                                    Telephone: 515-244-0111
                                                    Facsimile: 515-244-8935
                                                    jewoldt@hhlawpc.com
                                                    ATTORNEYS FOR DEFENDANTS
    8:16-cv-00144-LSC-MDN Doc # 32 Filed: 01/17/17 Page 2 of 2 - Page ID # 77




                                                                                          CERTIFICATE OF SERVICE

Original filed.                                                        The undersigned certifies that the foregoing instrument was served
                                                                       upon each of the attorneys of record of all parties to the above-entitled
                                                                       cause herein at their respective addresses disclosed on the pleadings
Copy to:                                                               of record on the 17th day of January, 2017.
                                                                       By    ☐ U.S. Mail              ☐ Fax
Brian T. Bailey                                                              ☐ Hand Delivery          ☒ Electronically through CM-ECF
Bailey & Bailey                                                             ☐ Private Carrier ☐ Other:
190 South LaSalle Street                                               Signature: ___/s/ Kathy Flaherty______________________
Suite 2100
Chicago, Illinois 60603

ATTORNEYS FOR PLAINTIFF

S:\JDE\8121-0007 United Fire-Tony's Steakhouse v. Ventura\Pleadings\NOS Discovery Responses to Plaintiffs 17-01-17.docx4356




                                                                   2
